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                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA




HEIDI LOTTHAMMER                  :                          CIVIL ACTION
                                  :
         vs.                      :
                                  :
ACADEMY COLLECTION SERVICE, I NC. :
                                  :                          NO. 08-3397

                                            ORDER


               AND NOW, TO WIT: This 13th day of November, 2008,
it having been reported that the issues between the parties in the above action has been settled
and upon Order of the Court pursuant to the provisions of Rule 41.1(b) of the Local Rules of
Civil Procedure of this Court , it is

              ORDERED that the above action is DISMISSED with prejudice, pursuant to
agreement of counsel without costs.




                                                  MICHAEL E. KUNZ, Clerk of Court


                                                  BY: S/Eileen Adler
                                                            Eileen Adler
                                                            Deputy Clerk




Civ 2 (8/2000)
41(b).frm
